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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                                BEAUMONT DIVISION

  UNITED STATES OF AMERICA CASE NO.1:19cr00139MACKFG1
                        PLANTIFF
 VS


  MATTHEW SELLS, JR.
                      DEFENDANT


      MOTION TO WITHDRAWAL PLEA DUE TO INEFFECTIVE ASSISTSNCE OF
   COUNSELfStrickland v. Washin ton, 466 U.S. 668 (1984) AND Faretta v. California,
         422 U.S. 806 (1975 , AND VIOLATION OF RULES OF PROFESSIONAL
                             CONDUCT .2,1.3, 1.4, AND 1.16.




        Comes Now, defendant, pro-se requesting that the courts grant defendants

 motion to withdra al plea and recuse judge, and to appoint new counsel due to violation

 of faretta and rules of professional conduct. Defendant believes that manifest injustice is

 proved in the facts stated below.


                                              FACTS

        On September 25th, 2019 defendant was charged with felon in possession of a

 firearm by a prohibited person, violation of 18 U.S.C. § 922 (g) (1).On January 14th,

 2020 defendant plead guilty to one count of prohibited person in possession of a firearm
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  922(g).Before entering plea defendant filed motions to Honorable District Judge Crone

  inform her of defendants lawyer Gary R Bonneaux, to inform her that defendants

  counsel was unsatisfactory and falling below professional standards. On July 10th, 2020

  defendant was sentenced to 96 months of federal prison time. Defendants motions in

  regards to his counselors conduct fell upon deaf ears. Defendant was further sentenced

  to a high end of 96 months which was unjustified by Honorable District Judge Crone

  furthermore defendants was treated unfairly by judge and counsel which upon

  inspection of motions, and transcripts is without a doubt shocking to the conscience.

  Defendant suffered extreme police misconduct that resulted in several fourth

  amendment violations that are so blatant that a unbiased judge would have surely

  noticed, as well as competent counsel would have filed pre-trial motions on defendants

  behalf to protect his innocence and shield him from the constitutional violations that

  infrOinged upon his Fourth amendment rights. None of this happened which resulted in

  incompetent counsel who failed defendant to plead guilty unknowingly that he had the

  right to counsel favorable to his defense in which Attorney Gary Bonneaux_was not. The

  Honorable District Judge unfairly, prejudicely, and with pure bias ignored defendants

 plea for help in which defendant filed pro-se with the courts.Defendant_was not

  requesting to go pro-se but was seeking counsel favorable to him. Nothing on the

 records show defendants lawyer did anything to challenge the police misconduct that

 led to defendants charges in which defendant was not breaking the law, nor engaged in

 a police pursuit at the time of offense, furthermore was on private property and vehicle

 parked on curtilage at the time. Police officers seized defendant stemming from a
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  involuntary police encounter. (Note: the marijuana seized was stuffed in officers shirt on

  body cam, no police docs. Noted(see body cam))


                                        AUTHORITY
         The Fourth Amendment assures the right of the people to be secure in their

  persons, houses, papers, and effects, against unreasonable searches and seizures, shall

  not be violated, and no warrants shall issue, but upon probable cause, supported by oath

  or affirmation, and particularly describing the place to be searched, and the persons or

  things to be seized.


  In all criminal prosecutions, the accused shall enjoy the right to a speedy and public trial,

  by an impartial jury of the state and district wherein the crime shall have been committed,

  which district shall have been previously ascertained by law, and to be informed of the

  nature and cause of the accusation; to be confronted with the witnesses against him; to

  have compulsory process for obtaining witnesses in his favor, and to have the assistance

  of counsel for his defense.


  Rules of Professional Conduct 1.2


  Subject to paragraphs (c) and (d), a lawyer shall abide by a client's decisions concerning

  the objectives of representation and, as required by Rule 1.4, shall consult with the client

  as to the means by which they are to be pursued. A lawyer may take such action on

  behalf of the client as is impliedly authorized to carry out the representation. A lawyer

  shall abide by a client's decision whether to settle a matter. In a criminal case, the lawyer

  shall abide by the client's decision, after consultation with the lawyer, as to a plea to be

  entered, whether to waive jury trial and whether the client will testify.
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  Rules 1.3 states that a lawyer shall act with reasonable diligence and promptness in

  representing a client


  Rule 1.4: Communication(a) A lawyer shall:(1) promptly inform the client of any decision

  or circumstance with respect to which the client's informed consent, as defined in Rule

  1.0(e), is required by these Rules;


  (2) reasonably consult with the client about the means by which the client's objectives are

 to be accomplished;


  (3) keep the client reasonably informed about the status of the matter;


  (4) promptly comply with reasonable requests for information; and


  (5) consult with the client about any relevant limitation on the lawyer's conduct when the

  lawyer knows that the client expects assistance not permitted by the Rules of Professional

  Conduct or other law.(b) A lawyer shall explain a matter to the extent reasonably

  necessary to permit the client to make informed decisions regarding the representation.

  Rule 1.16: Declining or Terminating Representation (a) Except as stated in paragraph (c),

  a lawyer shall not represent a client or, where representation has commenced, shall

 withdraw from the representation of a client if:


  (1) the representation will result in violation of the rules of professional conduct or other

  law;


 (2) the lawyer's physical or mental condition materially impairs the lawyer s ability to

 represent the client; or
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  (3) the lawyer is discharged.(b) Except as stated in paragraph


  (c), a lawyer may withdraw from representing a client if:


  (1) withdrawal can be accomplished without material adverse effect on the interests of

  the client;


  (2) the client persists in a course of action involving the lawyer's services that the lawyer

  reasonably believes is criminal or fraudulent;


  (3) the client has used the lawyer's services to perpetrate a crime or fraud;


  (4) the client insists upon taking action that the lawyer considers repugnant or with which

  the lawyer has a fundamental disagreement;


  (5) the client fails substantially to fulfill an obligation to the lawyer regarding the lawyer's

  services and has been given reasonable warning that the lawyer will withdraw unless the

  obligation is fulfilled;(6) the representation will result in an unreasonable financial burden

  on the lawyer or has been rendered unreasonably difficult by the client; or(7) other good

  cause for withdrawal exists.


  (c) A lawyer must comply with applicable law requiring notice to or permission of a tribunal

  when terminating a representation. When ordered to do so by a tribunal, a lawyer shall

  continue representation notwithstanding good cause for terminating the representation.


  (d) Upon termination of representation, a lawyer shall take steps to the extent reasonably

  practicable to protect a client's interests, such as giving reasonable notice to the client,
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  allowing time for employment of other counsel, surrendering papers and property to which

  the client is entitled and refunding any advance payment of fee or expense that has not

  been ea ed or incurred. The lawyer may retain papers relating to the client to the extent

  permitted by other law.


  Rule 3.8: Special Responsibilities of a Prosecutor


  The prosecutor in a criminal case shall:


  (a) refrain from prosecuting a charge that the prosecutor knows is not supported by

  probable cause;


  (b) make reasonable efforts to assure that the accused has been advised of the right to,

  and the procedure for obtaining, counsel and has been given reasonable opportunity to

  obtain counsel;


 (c) not seek to obtain from an unrepresented accused a waiver of important pretrial rights,

 such as the right to a preliminary hearing;


 (d) make timely disclosure to the defense of all evidence or information known to the

 prosecutor that tends to negate the guilt of the accused or mitigates the offense, and, in

 connection with sentencing, disclose to the defense and to the tribunal all unprivileged

 mitigating information known to the prosecutor, except when the prosecutor is relieved of

 this responsibility by a protective order of the tribunal;


 (e) not subpoena a lawyer in a grand jury or other criminal proceeding to present evidence

 about a past or present client unless the prosecutor reasonably believes:
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  (1) the information sought is not protected from disclosure by any applicable privilege;


  (2) the evidence sought is essential to the successful completion of an ongoing

  investigation or prosecution; and


  (3) there is no other feasible alternative to obtain the information;


  (f) except for statements that are necessary to inform the public of the nature and extent

  of the prosecutor's action and that serve a legitimate law enforcement purpose, refrain

  from making extrajudicial comments that have a substantial likelihood of heightening

  public condemnation of the accused and exercise reasonable care to prevent

  investigators, law enforcement personnel, employees or other persons assisting or

  associated with the prosecutor in a criminal case from making an extrajudicial statement

  that the prosecutor would be prohibited from making under Rule 3.6 or this Rule.


  (g) When a prosecutor knows of new, credible and material evidence creating a

  reasonable likelihood that a convicted defendant did not commit an offense of which the

  defendant was convicted, the prosecutor shall:


 (1) promptly disclose that evidence to an appropriate court or authority, and


  (2) if the conviction was obtained in the prosecutor s jurisdiction,


 (i) promptly disclose that evidence to the defendant unless a court authorizes delay, and
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  (ii) undertake further investigation, or make reasonable efforts to cause an investigation,

  to determine whether the defendant was convicted of an offense that the defendant did

  not commit.



  (h) When a prosecutor knows of clear and convincing evidence establishing that a

  defendant in the prosecutor s jurisdiction was convicted of an offense that the defendant

  did not commit, the prosecutor shall seek to remedy the conviction


                                      ARGUMENT
        On July 4th, 2019, defendant Matthew Sells arrived at (address unknown)

  Washington Blvd, Beaumont, Texas at a friends house. While at this house, without

  reasonable suspicion probable cause, or a warrant officers of BPD intruded on to the

  property and seized defendant without a warrant, reasonable suspicion, or probable

  cause Terry v. Ohio, 392 U.S. 1 (1968) and without a warrant, reasonable suspicion, or

  probable cause searched defendant and vehicle parked on the curtilage of the residence.

  Collins v. Virginia, No. 16-1027, 584 U.S. (2018),_During this involuntary police

 encounter defendant Sells repeatedly told the officer that he could not search the vehicle,

 yet the officer still did. Prior to the involuntary police encounter, defendant was not pulled

 over by law enforcement nor had the defendant been involved in a hot pursuit with officers

 of the Beaumont Police Department. Prior to this involuntary police encounter there was

 nothing to show or indicate that the officer had initially pursued the defendant to warrant

 the illegal intrusion onto the property.


        Officers of the BPD failed to mention (see body camera) that a resident of the

 property was parked in the driveway in front of defendants vehicle. Officers had no reason
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  to intrude or believe defendant was on property illegally. Officers of the B.P.D showed the

   Show of Authority by immediately entering residence without warrant, reasonable

  suspicion, or probable cause and grabbing defendant Mr. Sells wrist, ensuring that Mr.

  Sells was not free to leave or avoid the involuntary police encounter, as well as no

  citation for tinted windows e er noted. (Reason for alleged lawful encounter)


  From that moment, without a warrant, probable cause, or him off the property, and without

  a warrant began searching the exterior part of the residence, then without a warrant or

  exigent circumstances began searching the vehicle which was parked on the curtilage of

  the property, (see bodycam) Officers went on a hunch, better known as a fishing

  expedition in search of evidence to a crime without a warrant, reasonable suspicion or

  probable cause Terry v. Ohio, 392 U.S. 1 (1968). B.P.D alleged that vehicles window was

  illegal, yet no traffic citation was written to verify this involuntary encounter on private

  property in which Mr. Sells was in fact not breaking the law, even more so exercising his

  innocence (see booking charges). (Vehicle was not running and keys were remover prior

 to officers arrival - see bodycam). Furthermore this was not a joint traffic stop nor a lawful

 traffic stop, see police body cam that defendant was never evading police officers and

 being that he wasn t the police had no right to enter private property to investigate a

 hunch, Officers from the police department contacted Mr. Sells girlfriend after sending

 him to jail, defendant knew that the officer may have had personal interest in his personal

 life that influenced officers decision to pursue defendant illegally that was never

 investigated by counsel.
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         Ineffective Assistance of Counsel Facts and Arguments


         The sixth amendment, ensures defendant a right to counsel favorable to his

  defense see Faretta case Jaw Faretta v. California, 422 U.S. 806 (1975). citing that if the

  defense fails, it is the defendant who will suffer not the lawyer, in this case defendant is

  incarcerated for 8 years. The govt, may argue that defendant knowingly and intelligently

  took the plea, but facts prove lawyer lacked a viable defense, as well as failed to file any

  pre-trial motions to fight the allegations, despite the overwhelming amount of evidence if

  favor of the defense. The Honorable District Judge intentionally ignored defendants pleas

  in his filed pro-se motions and with bias sentenced defendant harshly after reading

  defendant dissatisfaction with counsel defendant terminated/discharged his lawyer in

  accordance to the rules of professional conduct 1.16 declining or terminating counsel, in

  which his counsel told him it was too late to discharge him and denied the order stating

  he was just waiting on sentencing and it was too late. Counsel failed to hear defendants

  pleas that he was innocent, failed to investigate, counsels only coercive technique was to

  get defendant to cooperate or get time. Counsel failed to suppress illegal evidence,

  counsel failed to file any pre-trial motions to ensure the defendant would prevail in any

  judicial proceedings. Counsels actions fell below a objectionable standard thus rendering

  his competence. Counsel was clearly ineffective and not in favor of the defendants

  defense Stirckland vs. WashinQton.466 U.S. 668 (1984).Counsel failed to investigate and

  discover evidence of why in fact this was a traffic stop or if indee it was a lawful

  stop that then transformed into a illegal arrest, a illegal search of person (pat down) then

  a illegal statement obtained, then a illegal search of the vehicle resulting in Wong Sun.
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  Had counsel investigated defendants case and claims, defendant believes whole

  heartedly he would be home now, but instead defendant is not a lawyer and because of

  poor and incompetent counsel, and because of that, he is now serving a lengthy prison

  sentence. Furthermore defendant believes manifest injustice has been shown, because

  counsel never investigated witness who lived at residence to secure defendants Fourth

  Amendment rights and protection, nor a option for a viable defense. A participant of the

  property was in the driveway in front of Mr. Sells Jeep, meaning the driver and vehicle

  was there before Mr. Sells and was never questioned because officers were aiding and

  assisting one another in violating Mr. Sells rights, in which United States Attorneys Office

  is aware of. The prosecution may try to argue that defendant took his plea knowingly and

  intelligently but in fact defendant did not benefit from his plea bargain or his lawyer. Had

  defendant hap competent counsel a plea negotiation would have never been discussed

  and it is believed that defendant would be home, so therefore the negligence of counsel

  shall not fall at the defendants fault but as in favor for it is the lawyer who is the expert

  and it is whom the defendant was to believe although this professional is well informed

  in the law just simply did not work and therefore became ineffective unknowingly to the

  defendant that his advice and actions were less then favorable, only to the gove ment,

  wherefore there is no way to make the claim that this plea was done knowingly and

  intentionally when the advice of counsel is not the standard procedure in which

  counselors take to show they are fighting for their clients.


                                            Conclusion
                Defendant prays that courts grant relief and grant this motion to withdrawal

  his plea after sentencing and appoint him competent counsel, and recuse Honorable
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  District Judge Crone from case, and allow co petent counsel to proceed to suppression

  hearing.




                                                            Respectfully Submitted
                                                            Matthew Sells #28979-078
                                                         United States Penitentiary McCreary
                                                                      P.O Box 3000
                                                            Pine Knot, KY 42635 .




                                             Certificate Of Service

  A copy of this foregoing motion was filed to:

  Assistant United States

  350 Magnolia, Suite 150

  Beaumont, Texas 77701-2237

  (409) 839-2538 (409) 839-2550 (fax) and
   United States Eastern District 300 Willow St, Beaumont, TX 77701

  On the day 22nd day of February 2021
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